Case 23-40709   Doc 70-11 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                    K - Tax Foreclosure Complaint Page 1 of 3




                           Exhibit K
  Case 23-40709                Doc 70-11 Filed 01/16/24 Entered 01/16/24 13:03:39                              Desc Exhibit
                                   K - Tax Foreclosure Complaint Page 2 of 3                                             I


                                  COMMONWEALTH OF MASSACHUSETTS
                                           LAND COURT
                                   DEPARTMENT OF THE TRIAL COURT
        The undersigned hereby represent(s):
that    the land hereinafter described was taken on December 28, 2018 for non-payment of taxes by the
        Town of Westborough in the County of Worcester by instrument dated December 28, 2018 and
        recorded on January 16, 2019 at the Worcester District Registry of Deeds in Book 59943, Page
        371 .

that    more than six months from the date of said taking has elapsed and no redemption has been made;

that    the proceedings aforesaid have been conducted according to law;

that    the instruments were recorded or registered within sixty (60) days from the date of taking;

that    the assessed value of said land and building is $5,239,100.00;

that    said land is described as a certain parcel of land situated in the Town of Westborough, County
        of Worcester and said Commonwealth, bounded:

                                     (Description must be same as in tax deed)

        PROPERTY: Land and any building(s) thereon       CONTAINING 29.336 AC (more or less)
        LOCATION: 231 Turnpike Road
        ASSESSORS: 32-48-0
        REGISTRY: Worcester District Registry of Deeds Book 19369, Page 75

that    the following are the names and addresses of all persons known to the undersigned who have any
        interest in said land other than the plaintiff, to wit:

        Westborough SPE, LLC

     Wherefore your plaintiff(s) pray(s) that the rights of all persons entitled to redeem from said
proceedings may be foreclosed: that said Court enter a judgment that the title of the plaintiff to said land
under said proceedings is absolute and that all rights of redemption are barred; and for such other and
further relief as may seem meet and proper to said Court.

Name           .C.- 2:%5);;W                              Street 34 West Main Street
        Robert Haley, Treasurer/Collector         City or Town Westborough, MA 01581

         On this 2 -?4, day of                    , 2019 personally appeared before me the within named
  Robert Haley known to me to be the signe of the foregoing complaint, and made oath that the statements
therein contained so far as made of his own knowledge are true and so far as made upon information and
belief that his believes them to be true.

                                                          Before me: (PRINT)                                    &11
                                                          Notary Public: (SIGNj-
                                                          My Commission Expires:               q -       Ojoa?..,

                                                    *(See over)
                                                                       4 64'
                                                                                                I\       go•

                                                                                           SUSAN A. BUSH

                                                                               1
                                                                               4/0          Notary Public
                                                                                      Commonwealth of Massachusetts
                                                                               My Commission Expires September 9. 2022
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                        No,


                                  Complaint To Foreclose

                                           Tax Lien



                                           Examiner




                                   LET JUDGMENT ISSUE



                                             Justice




                              From the Office of
                                 Dawn E. Bloom
                                 Berenson & Bloom
                                 116 Pleasant Street, Suite 340
                                 Easthampton, MA 01027
                                 BBO# 659839

                              LCP.5.8418
